  Case 16-21423        Doc 25    Filed 07/23/20 Entered 07/23/20 11:12:26            Desc Main
                                   Document     Page 1 of 6



                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In Re:
                                                       Case No. 1:16-bk-21423

     KRISTINA MOXLEY LYNCH                             Chapter 13

                                                       Honorable Janet S. Baer
                                  Debtor(s)

                                     NOTICE OF MOTION

To: service list affixed

      PLEASE TAKE NOTICE that on September 4, 2020, at 9:30 AM, I will appear before the
Honorable Janet S. Baer, or any Judge sitting in that Judge’s place, and present DEBTOR’S
MOTION TO MODIFY PLAN, a copy of which is attached.

        This Motion will be presented and heard telephonically. No personal appearance in
court is necessary or permitted. To appear and be heard telephonically on this Motion, you must
set up and use an account with Court Solutions, LLC. You can set up an account at
www.courtsolutions.com or by calling Court Solutions, LLC at (917) 746-7476.

        If you disagree with this Motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the Motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the relief sought herein in advance without hearing.

                                                     KRISTINA MOXLEY LYNCH

                                                     By: /s/ Joseph S. Davidson

                                                     Joseph S. Davidson
                                                     SULAIMAN LAW GROUP, LTD.
                                                     2500 South Highland Avenue
                                                     Suite 200
                                                     Lombard, Illinois 60148
                                                     +1 630-581-5450
                                                     jdavidson@sulaimanlaw.com
  Case 16-21423       Doc 25     Filed 07/23/20 Entered 07/23/20 11:12:26            Desc Main
                                   Document     Page 2 of 6



                                CERTIFICATE OF SERVICE

        I, Joseph S. Davidson, certify that I caused a copy of this notice and Motion to be served,
via electronic case filing to Glenn B. Stearns, Chapter 13 Trustee and via United States First Class
Mail® to each entity listed on service list affixed, on July 23, 2020 before the hour of 5:00 p.m.
from the office located at 2500 South Highland Avenue, Suite 200, Lombard, Illinois 60148.

                                                     /s/ Joseph S. Davidson
                  Case 16-21423        Doc 25     Filed 07/23/20            Entered 07/23/20 11:12:26     Desc Main
Label Matrix for local noticing                 U.S. Document
                                                     Bankruptcy Court Page 3 of 6              Bank Of America
0752-1                                          Eastern Division                               Nc4-105-03-14
Case 16-21423                                   219 S Dearborn                                 Po Box 26012
Northern District of Illinois                   7th Floor                                      Greensboro, NC 27420-6012
Eastern Division                                Chicago, IL 60604-1702
Wed Jul 1 11:08:57 CDT 2020
Barclays Bank Delaware                          Capital One                                    Capital One Bank (USA), N.A.
PO Box 8801                                     PO Box 30285                                   PO Box 71083
Wilmington, DE 19899-8801                       Salt Lake City, UT 84130-0285                  Charlotte, NC 28272-1083



(p)JPMORGAN CHASE BANK N A                      Comenity bank/J Crew                           Commerce Bank
BANKRUPTCY MAIL INTAKE TEAM                     Po Box 182125                                  P O BOX 419248
700 KANSAS LANE FLOOR 01                        Columbus, OH 43218-2125                        KCREC-10
MONROE LA 71203-4774                                                                           Kansas City, MO 64141-6248


Commerce Bank Of Kc                             Discover Bank                                  Discover Financial
Attn:Recovery                                   Discover Products Inc                          Attn: Bankruptcy
PO Box 419248 Kc-Rec-10                         PO Box 3025                                    Po Box 3025
Kansas City, MO 64141-6248                      New Albany, OH 43054-3025                      New Albany, OH 43054-3025


Equifax Information Services, LLC               Equifax Information Services, LLC              Experian Information Solutions, Inc.
1550 Peachtree Street NW                        PO Box 740241                                  475 Anton Boulevard
Atlanta, GA 30309-2468                          Atlanta, GA 30374-0241                         Costa Mesa, CA 92626-7037



Experian Information Solutions, Inc.            (p)ILLINOIS DEPARTMENT OF REVENUE              (p)INTERNAL REVENUE SERVICE
PO Box 4500                                     BANKRUPTCY UNIT                                CENTRALIZED INSOLVENCY OPERATIONS
Allen, TX 75013-1311                            PO BOX 19035                                   PO BOX 7346
                                                SPRINGFIELD IL 62794-9035                      PHILADELPHIA PA 19101-7346


Leyden Credit Union                             Northwest Collectors Inc                       (p)PORTFOLIO RECOVERY ASSOCIATES LLC
9617 W Grand Ave                                3601 Algonquin Road                            PO BOX 41067
Franklin Park, IL 60131-3308                    Ste232                                         NORFOLK VA 23541-1067
                                                Rolling Meadows, IL 60008-3143


Quantum3 Group LLC as agent for                 TD Bank USA, N.A.                              Target
Comenity Bank                                   C O WEINSTEIN & RILEY, PS                      C/O Financial & Retail Services
PO Box 788                                      2001 WESTERN AVENUE, STE 400                   Mailstop BT PO Box 9475
Kirkland, WA 98083-0788                         SEATTLE, WA 98121-3132                         Minneapolis, MN 55440-9475


TransUnion LLC                                  Village of Villa Park                          Glenn B Stearns
PO Box 2000                                     20 S. Ardmore Ave                              801 Warrenville Road Suite 650
Chester, PA 19016-2000                          Villa Park, IL 60181-2696                      Lisle, IL 60532-4350



Jason Van Van Hemert                            Joseph S Davidson                              Kristina Moxley Lynch
Van Hemert Law Group                            Sulaiman Law Group, Ltd.                       562 S. Finley Road
501 N. Ashland Ave                              2500 S. Highland Ave                           Lombard, IL 60148-2431
Park Ridge                                      Suite 200
Park Ridge, IL 60068-3409                       Lombard, IL 60148-7103
                  Case 16-21423           Doc 25       Filed 07/23/20 Entered 07/23/20 11:12:26                      Desc Main
Patrick S Layng                                          Document     Page 4 of 6
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase                                                Illinois Department of Revenue                       Internal Revenue Service
Attn: Correspondence Dept                            Bankruptcy Section                                   Centralized Insolvency Operation
Po Box 15298                                         PO Box 64338                                         PO Box 21126
Wilmington, DE 19850                                 Chicago, IL 60664-0338                               Philadelphia, PA 19114-0326


Portfolio Recovery Associates, LLC
Successor to BARCLAYS BANK DELAWARE
(UPROMISE)
POB 41067
Norfolk, VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Pam Gordon                                        End of Label Matrix
6577 Wilderness Trail                                Mailable recipients    30
IN 46083                                             Bypassed recipients     1
                                                     Total                  31
  Case 16-21423       Doc 25      Filed 07/23/20 Entered 07/23/20 11:12:26               Desc Main
                                    Document     Page 5 of 6



                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 In Re:
                                                        Case No. 1:16-bk-21423

     KRISTINA MOXLEY LYNCH                              Chapter 13

                                                        Honorable Janet S. Baer
                                     Debtor(s)

                                 MOTION TO MODIFY PLAN

          NOW COMES, KRISTINA MOXLEY LYNCH (the "Debtor"), through undersigned

counsel, pursuant to 11 U.S.C. § 1329, requesting entry of an order modifying plan. In support

thereof, Debtor states as follows:

          1.   On June 30, 2016, Debtor filed a voluntary petition for relief under Chapter 13,

Title 11, United States Code (the "Bankruptcy Code").

          2.   Debtor's Original Chapter 13 Plan, dated June 30, 2016, was confirmed on May 18,

2018 (the “Confirmed Plan”).

          3.   The Confirmed Plan provides:

               Section D. Payments by debtor to the trustee; plan term and completion

               1. Initial plan term. The debtor will pay to the trustee $215.00 monthly for
               60 months [and $       monthly for an additional          months], for total
               payments, during the initial plan term, of $12,900.00.

               Section E. Disbursements by the trustee

               The trustee shall disburse payments received from the debtor under this plan
               as follows:

               8. General unsecured claims (GUCs). All allowed nonpriority unsecured
               claims, not specially classified, including unsecured deficiency claims
               under 11 U.S.C. § 506(a) shall be paid, pro rata, □ in full, /or/ ■ to the extent
  Case 16-21423       Doc 25    Filed 07/23/20 Entered 07/23/20 11:12:26            Desc Main
                                  Document     Page 6 of 6



               possible from the payments set out in Section D, but not less than 14% of
               their allowed amount.

        4.     On July 1, 2020, Debtor filed a motion to incur debt [Dkt. #22].

        5.     Contemporaneously, Debtor filed Amended Schedules I, J on July 8, 2020 [Dkt.

#23].

        6.     Debtor's Amended Schedules I, J indicate an increase in Debtor's monthly

disposable income. See Id.

        7.     Accordingly, Debtor is seeking to modify the Confirmed Plan to increase payments

from $215.00 to $350.00 monthly for the remaining plan term.

        7.     Modifying the Confirmed Plan will not prejudice the general unsecured creditors,

as they will actually receive more than originally provided for in the Confirmed Plan.

        WHEREFORE, Debtor respectfully requests the following:

        A.     an Order modifying the Confirmed Plan to increase payments from $215.00 to

               $350.00 monthly for the remaining plan term; and

        B.     such other relief as the Court deems just and proper.

 DATED: July 23, 2020                             Respectfully submitted,

                                                  KRISTINA MOXLEY LYNCH

                                                  By: /s/ Joseph S. Davidson

                                                  Joseph S. Davidson
                                                  SULAIMAN LAW GROUP, LTD.
                                                  2500 South Highland Avenue
                                                  Suite 200
                                                  Lombard, Illinois 60148
                                                  +1 630-581-5450
                                                  jdavidson@sulaimanlaw.com
